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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                               LAFAYETTE DIVISION


To:            All Counsel of Record

Issued By:     Judge Robert R. Summerhays

Re:            Curtin Maritime Corp. v. M/V Epic Explorer, et al.
               6:19-cv-1036

Date:          March 7, 2025


                                       MINUTE ENTRY

        On or before April 8, 2025, counsel are to submit a Joint Status Report and advise whether
this suit is now in a posture to be reopened.
